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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS



STERLING SUFFOLK RACECOURSE, LLC,

                   Plaintiff,

v.                                                  No. 1:18-cv-11963 PBS

WYNN RESORTS, LTD; WYNN MA, LLC; STEPHEN
WYNN; KIMMARIE SINATRA; MATTHEW
MADDOX; and FBT EVERETT REALTY, LLC,

                   Defendants.




     MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT STEPHEN WYNN’S
            MOTION TO DISMISS THE AMENDED COMPLAINT
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                                             INTRODUCTION

            Defendant Stephen A. Wynn respectfully requests that the Court dismiss the Amended

     Complaint with prejudice. The Amended Complaint fails to state a claim against Mr. Wynn or

     any other defendant and is devoid of any allegations of legal consequence. Rather than defend

     its original complaint in the face of Mr. Wynn’s motion to dismiss, Plaintiff chose to re-plead

     with little more than innuendo.

            As set forth below, there are at least four independent reasons that the Court should

     dismiss the RICO counts against Mr. Wynn (and, indeed, against all defendants). The Amended

     Complaint should also be dismissed because it does not allege Mr. Wynn’s participation in two

     predicate racketeering acts with the specificity required by Fed. R. Civ. P. 9(b). For similar

     reasons, the ancillary state law claims should also be dismissed.

                                               ARGUMENT

I.      The RICO Claims Should Be Dismissed Pursuant to Rule 12(b)(6)

            The RICO claims should be dismissed because: (1) no RICO predicate acts are pled; (2)

     there is no “pattern” of racketeering activity; and (3) there is no proximate causation. In

     addition, with respect to Count I, “but-for” causation is not pled, and with respect to Count II, the

     Amended Complaint does not distinguish the RICO “persons” from the RICO “enterprise.”

     Count III (RICO conspiracy) does not survive the failure to plead any substantive RICO claims.

            A. The Amended Complaint Fails To Properly Plead Any RICO Predicate Acts

            The RICO claims cannot survive because Plaintiff has not properly pled any RICO

     predicate acts. See, e.g., Mendez Internet Mgmt. Servs., Inc. v. Banco Santander de P.R., 621

     F.3d 10, 16 (1st Cir. 2010) (“[L]acking a proper allegation of either class of predicate acts,

     [Plaintiff’s] RICO claim fails at the pleading stage.”). Although the Amended Complaint is
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filled with extraneous information, the only predicate acts alleged are: (1) mail and wire fraud

related to the application for a Massachusetts gaming license; (2) Massachusetts “gambling”

crimes; (3) Travel Act violations related to both Massachusetts and Nevada “gambling” crimes;

and (4) honest services fraud related to Mayor DeMaria. See generally Am. Compl. ¶¶ 155, 161.

                     i. Mail and Wire Fraud

        The Amended Complaint fails to transform alleged misrepresentations to a state licensing

authority—a garden variety state law issue—into a federal crime. Fatal to Plaintiff’s claim is

that the mail and wire fraud statutes require that the object of the fraud be the “obtaining of

money or property.” Here, the “money or property” the Defendants sought was a gaming

license in the hands of the Massachusetts Gaming Commission (“MGC”). This fact is

dispositive because the Supreme Court has held that, “[i]t does not suffice . . . that the object of

the fraud may become property in the recipient’s hands; for purposes of the mail fraud statute,

the thing obtained must be property in the hands of the victim.” Cleveland v. United States, 531

U.S. 12, 15 (2000). Further “[T]he Supreme Court has broadly and unequivocally instructed

that ‘[s]tate and municipal licenses’ generally ‘do not rank as ‘property,’’ sufficient to

support a conviction under § 1341.” United States v. Berroa, 856 F.3d 141, 149 (1st Cir.

2017) (emphasis added) (quoting Cleveland, 531 U.S. at 15). Thus, the fact that the casino

license could have constituted “property” in the hands of Wynn Resorts or, for that matter,

Plaintiff, is not legally sufficient to state a claim.

        The Cleveland case is strikingly similar to the one at bar. There, the government charged

the defendants with RICO violations predicated on mail fraud. The defendants allegedly

“fraudulently conceal[ed] that they were the true owners of” an entity in an application for a

video poker license because they were concerned their financial problems “could have




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undermined their suitability to receive” the license. Cleveland, 531 U.S. at 17. The Court

vacated the mail fraud convictions and held that the state’s licensing scheme was an “exercise[ ]

of state police powers,” rather than a state property interest. Id. at 21. The licenses were not

“property” in the hands of the state, in part, because:

        Equating issuance of licenses or permits with deprivation of property would subject
        to federal mail fraud prosecution a wide range of conduct traditionally regulated by
        state and local authorities . . . . Louisiana’s video poker statute typically and
        unambiguously imposes criminal penalties for making false statements on license
        applications. . . . [U]nless Congress conveys its purpose clearly, it will not be
        deemed to have significantly changed the federal-state balance in the prosecution
        of crimes.

Id. at 24 (citations omitted).

        The gravamen of the Amended Complaint is that the enterprise defrauded the MGC in

order to obtain a gaming license. See, e.g., Am. Compl. ¶¶ 8-9 (“Thus, in order to unlawfully

acquire the Gaming License . . . .”). Pleading around Cleveland by alleging that the fraud was

aimed at the proceeds of a future casino changes nothing. The First Circuit rejected such novel

pleading in Berroa. There, defendants submitted fraudulent test scores to the Puerto Rico Board

of Medical Examiners and were granted medical licenses. Recognizing that “Cleveland squarely

precluded the government from seeking mail fraud convictions on the theory that the defendants

defrauded the Board out of some property interest in the medical licenses,” the government

charged that the object of the fraud was to deprive “unsuspecting consumers of health care

services” of money at the time when the physicians were able to use “their fraudulently obtained

medical licenses.” Id. at 149. The court found there was no proximate causation because the

fraud “cannot be said to have naturally induced healthcare consumers to part with their money

years later.”1 Id. at 150. The First Circuit stated:


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     Similarly, if Plaintiff was to argue that the object of the fraud was casino customers’ money, any
misrepresentations to the MGC “cannot be said to have naturally induced [casino customers] to part with their


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         [M]edical licenses, much like the gaming licenses at issue in Cleveland, almost
         invariably are sought and obtained in an effort to realize some monetary
         profit. Accordingly, under the government’s theory, virtually any false statement
         in an application for a medical license could constitute a federal crime. Such a
         broad reading of the statute would impermissibly infringe on the states’
         distinctively sovereign authority to impose criminal penalties for violations of
         licensing schemes, including making false statements in a license application. . . .
         [T]he phrase “by means of” serves as a textual limitation preventing such a
         usurpation of state criminal jurisdiction.

Id. (emphasis added). Just as the First Circuit rejected the “effort to circumvent Cleveland” in

Berroa, so too should this Court reject a similar attempt by Plaintiff here.

                      ii. “Gambling”

         The Amended Complaint claims that misrepresentations to the MGC violate the

Massachusetts Gaming Act, and therefore constitute “racketeering activity” for purposes of

RICO. This is not so. RICO defines “racketeering activity,” in part, to include “any act or threat

involving . . . gambling . . . which is chargeable under State law and punishable by

imprisonment for more than one year.” 18 U.S.C. § 1961(1). In other words, it is Plaintiff’s

position that the act of submitting an application to the MGC is an “act . . . involving . . .

gambling.” But as the Third Circuit held:

         The test for determining whether the charged acts fit into the generic category of
         the predicate offense is whether the indictment charges a type of activity generally
         known or characterized in the proscribed category. Gambling is defined as “the act
         or practice of betting,” or “the act of risking something on an uncertain event.”

United States v. Mark, 460 F. App’x 103, 107 (3d Cir. 2012) (quoting WEBSTER’S THIRD NEW

INT’L DICTIONARY (1981)). Submitting an application is not “gambling” or “betting,” even if the

object of the application is to obtain a gaming license. Cf. United States v. Genova, 187 F. Supp.

2d 1015, 1021 (N.D. Ill. 2002) (holding that the “filing of false statements—even if done with



money years later.” Notably, the alleged fraud occurred in 2013-2014. Five years later, the casino still has not
opened its doors.


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the intent of concealing a bribery scheme—is not the same” as the RICO predicate offense of

“bribery”). Plaintiff’s attempt to shoehorn the misrepresentations into the “gambling” category

simply because the statements were made to a state authority that regulates gambling stretches

the definition of “gambling” far beyond the statute. This is especially so where, as here, the

applicant is years away from participating in any actual “gambling” activity. Plaintiff’s reading

would result in all violations of the Massachusetts Gaming Act becoming RICO predicate

offenses, constituting an unwarranted expansion of federal criminal law.

                  iii. Travel Act

       The Travel Act prohibits travel in interstate commerce for the purpose of carrying on an

“unlawful activity.” 18 U.S.C. § 1952. Plaintiff here refers to the “unlawful activity” of

“facilitat[ing] the promotion, management, establishment, or carrying on, of . . . any business

enterprise involving gambling . . . offenses in violation of the laws of the State in which they are

committed.” 18 U.S.C. §§ 1952(a)(3), (b). For the same reason that violations of the

Massachusetts Gaming Act fail as RICO predicates, the Travel Act allegations that hinge on

Massachusetts Gaming Act violations also fail. Quite simply, there is no “gambling” activity

alleged in the Amended Complaint. As with its reading of the word “gambling” in the RICO

statute, Plaintiff’s expansive definition of “gambling” in the Travel Act would turn every

violation of the Massachusetts Gaming Act into a federal crime. See United States v. Ferber,

966 F. Supp. 90, 102-03 (D. Mass. 1997) (“[T]he Travel Act must not be read so expansively as

to upset the delicate balance between the powers of the federal and state sovereigns.”).

       Plaintiff also alleges that Wynn Resorts’ violations of the Nevada gaming suitability

statute violates the Travel Act. While there were gaming operations in Nevada when the alleged

conduct took place, Plaintiff has not shown any connection to interstate commerce. Plaintiff has




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only alleged that “at least some of these violations involved interstate travel or the use of the

mail or other facilities in interstate commerce.” Am. Compl. ¶ 38 (emphasis added). Plaintiff

fails to state: (1) which “violations” involved interstate commerce; (2) facts showing how such

“violations” involved interstate commerce; or (3) which defendants used interstate facilities. In

short, “[t]he Complaint sets forth no facts showing that any facilities in interstate commerce were

used in connection with this unlawful act.” Merrill Lynch, Pierce, Fenner & Smith, Inc. v.

Young, No. 91-cv-2923, 1994 WL 88129, at *14 (S.D.N.Y. Mar. 15, 1994).

       Further, the Nevada allegations are not “horizontally related” to the other alleged

predicate acts. See Reich v. Lopez, 858 F.3d 55, 61–62 (2d Cir. 2017). The Nevada allegations

relate to personal misconduct dating back to 2005 which purportedly violated the Nevada

gaming statutes, while all of the other predicate acts relate to Wynn Resorts’ attempt in the 2013-

2014 timeframe to procure a Massachusetts gaming license. These allegations are not “related”

for purposes of forming a RICO pattern. See Feinstein v. Resolution Trust Corp., 942 F.2d 34,

44-47 (1st Cir. 1991) (predicate acts involving two transactions separated by two years not

related, despite involving some common participants and similar purposes of transactions).

                  iv. Honest Services Fraud

       In a last-ditch effort to preserve its claims, Plaintiff alleges honest services fraud based on

the defendants “causing Mayor DeMaria to abuse the powers of his public office.” Am. Compl.

¶ 155(c). But the only facts alleged to support this legal conclusion are that: (1) Mayor DeMaria

received a share of Mr. Russo’s 3% fee; (2) in 2016 Mr. Wynn spoke with Mayor DeMaria about

real estate Wynn Resorts desired; and (3) in 2016 the business located on the property received a

“notice of violations” from the Everett Building Department, which was “under the sway of

Mayor DeMaria.” Id. at ¶¶ 60, 108, 109. Plaintiff does not allege that the “notice of violations”




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was illegitimate, that it was issued because of any promised payment from the Wynn Defendants,

or that the Wynn Defendants offered anything to Mayor DeMaria in exchange for any favors.

See United States v. Madison, 657 F. App’x 67, 69 (2d Cir. 2016) (“Honest services fraud

requires a quid pro quo . . . .”). Aside from the conclusory allegation that “[t]he Wynn

Defendants either knew, or were willfully blind to, the actual role and purpose of Russo,” Am.

Compl. ¶ 115, Plaintiff does not even allege that Mr. Wynn actually knew that Mr. Russo was

“funneling” money to Mayor DeMaria.2

         B. Plaintiff Fails To Plead A “Pattern” Of Racketeering Activity

         Under the most generous reading, the “scheme” alleged here lasted twenty months, from

December 2012 until September 2014, when the MGC voted to grant the license to Wynn

Resorts. See Am. Compl. ¶¶ 88, 139. More critical than its finite duration, the so-called

“scheme” had one alleged goal—to fraudulently obtain a single Massachusetts gaming

license. See id. at ¶ 8 (describing RICO scheme “to unlawfully acquire the Gaming License

. . . .”).3 This type of “single purpose” transaction does not constitute a RICO “pattern.” See

Home Orthopedics Corp. v. Rodriguez, 781 F.3d 521, 530 (1st Cir. 2015) (affirming dismissal

where defendants “engaged in unlawful conduct for the purpose of accomplishing a singular,

narrow goal”); Efron v. Embassy Suites (P.R.), Inc., 223 F.3d 12, 17-21 (1st Cir. 2000).

         C. Plaintiff Fails To Plead Proximate Causation

         Mr. Wynn’s alleged conduct did not proximately cause any injury to the Plaintiff.

Plaintiff alleges that the misrepresentations were made to the MGC, not to Plaintiff. The MGC



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    There are also relatedness and causation issues with using the honest services fraud as a predicate act. If the
fraud had any purpose, it was to remove a business from land in 2016. This is completely unrelated to the alleged
scheme to fraudulently procure a Massachusetts Gaming License, which was granted in 2014.
3
    With respect to Count I, Plaintiff’s attempt to extend the “pattern” by arguing that “the enterprise’s primary
purpose . . . extended beyond obtaining the Gaming License,” Am. Compl. ¶ 154, suffers from the fatal flaw that
Plaintiff has not alleged any ongoing interest once the Everett land was sold to Wynn Resorts.


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in turn made an independent decision based on a variety of factors to award the license to Wynn

MA. Cf. Caesars Mass. Mgmt. Co., LLC v. Crosby, 778 F.3d 327, 334 (1st Cir. 2015)

(“[E]xpectation of value on the part of any applicant appears untenable . . . under the terms of the

licensing statute itself, which invests the Commission with an apparently unlimited scope for

discretionary judgment . . . .”). Plaintiff’s injury is that it lost a potential tenant, Mohegan Sun

Massachusetts (“Mohegan”), because Wynn MA was awarded the license instead of Mohegan.

This indirect causal chain is insufficient to state a claim for relief under RICO. See Boston Cab

Dispatch, Inc. v. Uber Tech., Inc., No. 13-cv-10769, 2015 WL 314131, at *7-8 (D. Mass. Jan.

26, 2015) (dismissing claims where causation chain was “too attenuated to satisfy proximate

cause”); George v. Nat’l Water Main Cleaning Co., 286 F.R.D. 168, 185-86 (D. Mass. 2012).

       D. Count I Should Be Dismissed Because It Fails To Establish But-For Causation

       With respect to Count I—that the Defendants failed to disclose the interests of Messrs.

Lightbody, DeCicco, and Russo in FBT Everett Realty, LLC (“FBT”)—the alleged “causation”

is contradicted by the Amended Complaint itself. Plaintiff alleges that in December 2012, the

Boston Business Journal disclosed the ownership interests of “convicted felon Gary DeCicco.”

Am. Compl. ¶ 86. By that time, “[t]he ownership interest and involvement of these convicted

felons [DeCicco and Lightbody] was open and notorious in the community as well as readily

ascertainable from public records.” Id. at ¶¶ 58, 80. And the interest of Mr. Russo was disclosed

to the MGC, at the latest, in December 2013. Id. at ¶ 114. By all accounts, “in July 2013, the

Wynn Defendants were known to the Gaming Commission to have associated with known

felons and to have failed to disclose those affiliations.” Id. at ¶ 110. Nonetheless, over a

year later, on September 16, 2014, the MGC voted to award the license to Wynn MA. Id. at

¶ 139. The Defendants’ actions could not have possibly caused Plaintiff’s injury because the




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MGC learned of the undisclosed ownership interests and chose to grant Wynn MA the license

anyway. See Youssef v. Halcrow, Inc., 504 F. App'x 5, 6 (2d Cir. 2012) (affirming dismissal

where “[t]he complaint’s factual allegations belie [its] legal conclusion[s]”).

          In fact, by the time the MGC voted to grant the license, its Investigations and

Enforcement Bureau (“IEB”) had published a report detailing the ownership of FBT, including

the criminal histories and interests of Messrs. DeCicco and Lightbody, and the backdating issues

referenced in the complaint. See 12/6/13 Report of Suitability (“Report”) (attached hereto as

Exhibit A to Maynard Decl.).4 As noted below, all allegations related to the “scheme” to hide

the owners’ interests were disclosed before the MGC voted to award the license to Wynn MA.

    Allegation (Amended Complaint)            IEB Report
    Application “materially false and         “DeCicco was charged in criminal schemes including a
    misleading” because included              1995 arson of a warehouse. Although acquitted of that
    contract where FBT attested no            charge, DeCicco was convicted of related insurance
    cause for it to be found unsuitable.      fraud and forgery crimes relating to that incident.” 52.
    Involvement of criminals made             Lightbody is a “a convicted felon.” 55.
    FBT unsuitable. ¶¶ 90-91.
    DeNunzio backdated FBT 2012               “Dustin DeNunzio later admits he created the 2012
    Operating Agreement to indicate           Operating Agreement [in which no interest of DeCicco is
    that DeCicco did not have an              listed] in January 2013.” 57.
    ownership interest in FBT. ¶ 92.
    DeCicco executed a memorandum             “[A] document which purports to be a ‘Memorandum of
    of Transfer dated “April ___2012”         Transfer’ of all residual rights and membership interests
    in which he transferred all his           that DeCicco has in FBT Realty, LLC to Lightbody
    interests to Lightbody. ¶ 92.             which is simply dated ‘April __ 2012.’” 57.
    FBT backdated a memorandum of             “Promissory Notes dated August 15 and December 14,
    transfer and promissory note to           2012, and Memoranda of Transfer dated August 15 and
    show Lightbody’s interest expired         December 14, 2012 . . . in fact, may very well not have
    on December 14, 2012. ¶ 94.               been prepared or executed on the depicted dates.” 86.
    Documents further backdated to            “Dustin DeNunzio testified he prepared these documents
    August 15, 2012. ¶ 97.                    in July 2013, not August 2012.” 66.
    Lightbody had recourse against            “Gattineri also suggests that if he fails to satisfy the

4
      The Court can take judicial notice of the Report of Suitability as a public record. See In re Vertex Pharms.
Inc., Secs. Litig., 357 F. Supp. 2d 343, 352 n.4 (D. Mass. 2005). According to the Report, “[t]housands of pages of
documentary materials have been subpoenaed, acquired or otherwise reviewed, dozens of persons have been
interviewed in both Massachusetts and Nevada, hours of tape recordings and hundreds of pages of sworn testimony
have been conducted during the course of this inquiry.” Report at 47-48.



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 Gattineri in the event Gattineri       terms of the suspicious promissory note and transfer
 defaulted on the note, so he           memorandum, Lightbody has foreclosure recourse
 maintained a reversionary interest     against him . . . and thus a possibility of some
 in FBT. ¶ 98. Ownership                reversionary interest in the FBT property.” 79. “Charles
 “confirmations” of Gattineri,          Lightbody, a convicted felon, may have retained an
 Lohnes, and DeNunzio, as well as       interest in the Everett property well after the applicant
 revised contract between WRL           had been advised that he had been removed. . . .
 and FBT were materially false          Similarly, Charles Lightbody may have a legal
 because did not show Lightbody’s       reversionary interest in the event Anthony Gattineri does
 interest. ¶¶ 98, 116, 117.             not repay his promissory note obligations.” 86.

       Only three of the alleged Count I misrepresentations were not included in the Report.

First, Plaintiff alleges that Mr. Russo had an undisclosed interest in FBT. Am. Compl. ¶ 115.

But the complaint itself notes that this interest was publicly disclosed, at the latest, in December

2013, prior to the MGC awarding Wynn Resorts the license. Id. at ¶ 114; see also 9/8/14 MGC

Tr. at 15-20 (attached hereto as Exhibit B to Maynard Decl.) (IEB stating that Mr. Russo would

receive a 3% fee). Second, Plaintiff alleges that the revised agreement with FBT required Wynn

Resorts to pay for certain remediation costs and “it is not clear that the illusory nature of the

price reduction was disclosed to the Gaming Commission.” Am. Compl. ¶ 112. But the

Amended Complaint itself states that the revised agreement was disclosed to the MGC prior to

awarding Wynn Resorts the license. See id. at ¶ 119 (noting “the revised agreement that had

been presented to and approved by the Gaming Commission in December 2013”); Report at 88

(“A copy of the agreement has been provided to the IEB and must be approved by the MGC.”).

       The only allegation not before the MGC when it awarded the license was that “DeSalvio

entered into a secret side agreement with Gattineri, promising to make him whole by giving him

value equivalent to his share . . . of the gap between the original price and the revised lower price

for the Everett site.” Am. Compl. ¶ 118. First, failure to disclose this purported side agreement

does not constitute an actionable misrepresentation under the federal mail fraud statute. Second,

and more importantly, there is absolutely no allegation that Mr. Wynn was aware of, or



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participated in, this side agreement or the failure to disclose it.5

         E. Count II Should Be Dismissed Because The RICO “Person” And RICO
            “Enterprise” Are One And The Same

         The second count of the Amended Complaint should be dismissed because of well-settled

law that “the ‘person’ identified under § 1962(c) must be distinct from the ‘enterprise.’” Bessette

v. Avco Fin. Servs., Inc., 230 F.3d 439, 448 (1st Cir. 2000); see also Doyle v. Hasbro, Inc., 103

F.3d 186, 190 (1st Cir. 1996) (“[T]he unlawful enterprise itself cannot also be the person the

plaintiff charges with conducting it.”). Plaintiff’s attempt to skirt this principle by bringing its

second claim for relief against “all of the Wynn Defendants other than Wynn MA” fails because

the RICO “persons”—Wynn Resorts Limited, Mr. Wynn, Ms. Sinatra, and Mr. Maddox—and

the purported RICO “enterprise”—Wynn MA—are one and the same. The fiction of the

subsidiary acting as an independent enterprise should be disregarded.

         In Bessette, the First Circuit considered a similar situation where plaintiff alleged that a

subsidiary corporation was the RICO “person” and a parent corporation was the RICO

“enterprise.” See 230 F.3d at 448. The court noted that, for purposes of RICO, it would

disregard the distinction between parent and subsidiary unless “the parent’s activities are

sufficiently distinct from those of the subsidiary at the time that the alleged RICO violations

occurred.” Id. at 449. The First Circuit found that “[t]he failure to allege that [the subsidiary]

took actions independent of [the parent was] fatal to the appellant’s claims. . . . Without further

allegations, the mere identification of a subsidiary and a parent in a RICO claim fails the

distinctiveness requirement.” Id. The same result applies in this case, where Plaintiff has made


5
      To the extent Plaintiff argues that the actionable misrepresentations relate not to statements that criminals did
not have an interest in FBT when, in fact, criminals did have an interest in FBT, but to Wynn Resorts’ knowledge
thereof, the argument is foreclosed by the language of the Amended Complaint itself: “in July 2013, the Wynn
Defendants were known to the Gaming Commission to have associated with known felons and to have failed to
disclose those affiliations.” Am. Compl. ¶ 110 (emphasis added).


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no attempt to distinguish Wynn Resorts Limited from Wynn MA. To the contrary, Plaintiff

affirmatively pled that Wynn Resorts Limited and Wynn MA function as one unit:

       Wynn Resorts was not a passive owner of Wynn MA, which had no autonomous
       management team of its own given decision making discretion. Rather, all
       significant decisions of Wynn MA, including without limitation its decisions to
       engage in the criminal and/or tortious acts set forth herein, were made for it by
       Wynn Resorts and Wynn Resorts’ own senior management team, including the
       individual defendants herein.

See Am. Compl. ¶ 18.

       Plaintiff’s effort to distinguish the individual defendants from the purported RICO

“enterprise” also fails. The Bessette plaintiff also pled that employees were the RICO “persons”

and the corporation was the “enterprise.” In affirming dismissal, the First Circuit held that

because the employees were acting solely in the interest of their employer, they were not

“distinct” from the enterprise. Id. at 449-50 (citing Riverwoods Chappaqua Corp. v. Marine

Midland Bank, 30 F.3d 339, 344 (2d Cir. 1994) (“[W]here employees of a corporation associate

together to commit a pattern of predicate acts in the course of their employment and on behalf of

the corporation, the employees in association with the corporation do not form an enterprise

distinct from the corporation.”)). Here, the allegedly fraudulent acts undertaken by the

individual defendants were done for the purpose of securing the Massachusetts Gaming License

for Wynn MA—in other words, on behalf of the corporation. See also Mear v. Sun Life Assur.

Co. of Canada (U.S.)/Keyport Life Ins. Co., No. 06-cv-12143, 2008 WL 245217, at *9 (D. Mass.

Jan. 24, 2008). Accordingly, Plaintiff has failed to plead the existence of an enterprise, and

Count II of the Amended Complaint should be dismissed.

       F. Plaintiff’s RICO Conspiracy Claim Fails

       Plaintiff’s failure to plead a substantive RICO claim dictates that the RICO conspiracy

claim should also fail. See Efron, 223 F.3d at 21 (“A conspiracy claim under section 1962(d)



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may survive a factfinder’s conclusion that there is insufficient evidence to prove a RICO

violation, but if the pleadings do not state a substantive RICO claim upon which relief may be

granted, then the conspiracy claim also fails.” (emphasis in original) (citations omitted)); Langan

v. Smith, 312 F. Supp. 3d 201, 208 (D. Mass. 2018) (same).

   III.      Regardless Of Whether Plaintiff States A Claim Against Other Defendants, The
             RICO Claims Against Mr. Wynn Fail Because Plaintiff Has Not Alleged Two
             Racketeering Acts By Mr. Wynn

          The RICO counts should be dismissed for the independent reason that, with respect to

Mr. Wynn in particular, the Amended Complaint fails to allege two racketeering acts. See Aetna

Cas. Sur. Co. v. P & B Autobody, 43 F.3d 1546, 1560 (1st Cir. 1994) (“In order to establish a

pattern of racketeering activity, the evidence must show that each defendant committed two

acts of racketeering activity . . . .” (emphasis added)).

          A. Under Rule 9(b), The Court Should Disregard All Allegations Against Wynn
             Resorts, Wynn MA, and “All Defendants” In Assessing Mr. Wynn’s Liability

          Rule 9(b) applies where mail and wire fraud are alleged as predicate acts. See New

England Data Servs., Inc. v. Becher, 829 F.2d 286, 290 (1st Cir. 1987). Further, “[t]he First

Circuit has repeatedly held that ‘RICO claims premised on mail or wire fraud must be

particularly scrutinized because of the relative ease with which a plaintiff may mold a RICO

pattern from allegations that, upon closer scrutiny, do not support it.’” The Roxbury/S. End

Tenants’ Council, Inc. v. Cornerstone Corp., 573 F. Supp. 2d 359, 368 (D. Mass. 2008)

(emphasis added). Where multiple defendants are named in the complaint, “each defendant’s

role must be particularized with respect to their alleged involvement in the fraud.” Kuney

Int’l, S.A. v. Dilanni, 746 F. Supp. 234, 237 (D. Mass. 1990) (emphasis added).

          Nearly all of Plaintiff’s claims against Mr. Wynn are based on generalized allegations

regarding Wynn Resorts’ or Wynn MA’s statements/omissions to the MGC. But Wynn



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Resorts’ and Wynn MA’s conduct cannot be attributed to Mr. Wynn simply because he was the

CEO of Wynn Resorts. See Escude Cruz v. Ortho Pharm. Corp., 619 F.2d 902, 907 (1st Cir.

1980) (“What is required is some showing of direct personal involvement by the corporate

officer in some decision or action which is causally related to plaintiff’s injury.”); see also Nat’l

Grp. for Commc’ns & Computers, Ltd. v. Lucent Techs. Inc., No. 03-cv-6001, 2004 WL

2903745, at *3 (S.D.N.Y. Dec. 15, 2004) (“The standard for liability in a civil RICO action is no

exception to the general rule requiring individual involvement in order to subject a corporate

officer to liability, and requires personal involvement by each defendant.”); Toyz, Inc. v. Wireless

Toyz, Inc., 799 F. Supp. 2d 737, 748 (E.D. Mich. 2011).

       Nor can Plaintiff, as it has attempted, “lump[] all the defendants together as a unitary

force.” See Jones v. Experian Info. Sols., Inc., 141 F. Supp. 3d 159, 162 (D. Mass. 2015). The

Plaintiff’s allegations regarding all “Defendants” and all “Wynn Defendants” that are not

specific to Mr. Wynn himself should be disregarded because such allegations are simply “too

conclusional to satisfy the particularity requirement” as to Mr. Wynn. See TLH Int’l v. Au Bon

Pain Franchising Corp., No. 86-cv-2061, 1986 WL 13405, at *7 (D. Mass. Nov. 13, 1986)

(dismissing RICO complaint that failed to specify which conduct was attributable to which

defendant); Rick v. Profit Mgmt. Assocs., Inc., 241 F. Supp. 3d 215, 224 (D. Mass. 2017).

       For example, Plaintiff alleges that “Maddox, Sinatra, and Steve Wynn were each

involved in preparing, submitting and/or directing the preparation and submission of these

fraudulent applications knowing of their falsity.” Am. Compl. ¶ 91 (emphasis added). This

allegation fails because it does not specify Mr. Wynn’s involvement in any misrepresentation.

See Loan v. Fed. Deposit Ins. Corp., 717 F. Supp. 964, 968 (D. Mass. 1989) (dismissing claims

where complaint alleged “defendants caused [the fraudulent document] to be prepared and




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circulated” but did not allege the individuals “actually prepared, signed or even read the

[document]”); Metro. Prop. & Cas. Ins. Co. v. Savin Hill Family Chiropractic, Inc., No. 15-cv-

12939, 2016 WL 11004383, at *3 (D. Mass. June 15, 2016).

        B. The Macau Allegations Are Not Racketeering Acts

        The various allegations regarding the Macau casinos, see Am. Compl. ¶¶ 39-52, should

be disregarded because they do not state any RICO predicate acts. The only question is whether

Mr. Wynn made any material misrepresentations regarding the Macau operations, not whether,

for instance, the Macau casino did due diligence on the subjunkets. See id. at ¶ 43. Plaintiff

alleges with specificity the content of Mr. Wynn’s statements regarding Macau, but does not

allege that those statements are misrepresentations, or how they are misrepresentations. Mr.

Wynn’s statements are either opinions (“And if we’re sloppy and we allow people who are

engaged in criminal activity to do business with us, we should be criticized for it and held

responsible.”), or general business philosophies (“Do we allow illegal activity in our casinos?

The answer is no, no. Do we do everything that you can reasonably do to stop it? Yes.”).6 See

id. at ¶ 124. These statements cannot be materially false and fraudulent, as is required for mail

and wire fraud. Nor do the allegations that, on a few occasions, criminal activity was detected in

Macau, transform Mr. Wynn’s musings into federal crimes.

        Plaintiff also alleges that Mr. Wynn stated that, with respect to Macau’s transfer of Cotai

land rights: (1) “everything was done verbally”; (2) “they’re not as contract oriented in China”;

and (3) “[t]hat whole culture is relationship driven.” Am. Compl. ¶ 128. Yet the Amended


6
     The Amended Complaint also alleges that Mr. Wynn stated “[ ] we are obeying all of the rules and regulations
of Macau and employing all of the standard and ethical standards for which we are known . . . .” Am. Compl. ¶
124(b). To the extent this is a substantive statement and not simply filler, the Amended Complaint fails to allege
how the Wynn Defendants violated Macau regulations. See id. at ¶¶ 46-47 (referencing the Wynn Defendants’
“contravention of Macau . . . law and gaming regulations” without any allegation as to what law was
“contravened.”)



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Complaint does not dispute the truth of Mr. Wynn’s statement. On the contrary, it acknowledges

that “the records do not show any evidence that Tien Chiao . . . ever had rights to the land,” and

that “[r]ecords produced by [the Macau government] show Wynn Macau SA as the earliest

documented applicant for the land rights.” Id.7 “Once again, the complaint itself belies

plaintiff[’s] claims . . . .” Brill v. United States, No.10-05104, 2011 WL 249740, at *3 (N.D.

Cal. Jan. 26, 2011) (emphasis in original). Of course, Mr. Wynn’s opinions that Macau business

is “relationship driven” and not “contract oriented” are not punishable as federal crimes.8

         C. The Remaining Allegations Do Not Specify Racketeering Activity By Mr. Wynn

         Once the allegations against “all defendants,” and the Macau allegations are disregarded,

it is apparent that the balance of the allegations against Mr. Wynn are extraneous filler. None of

these scattershot allegations make out RICO predicate racketeering acts.

         First, the allegation that Mr. Wynn called Mr. Crosby ex parte on two occasions is

irrelevant. Although the Amended Complaint alleges that such ex parte communications were

violations of the Massachusetts Gaming Act, it does not allege that these ex parte

communications were misrepresentations. Nor could the ex parte communications with the

MGC constitute any kind of RICO predicate act.

         Second, the allegation that, in 2016, Mr. Wynn called Mayor DeMaria to discuss a

business located on a piece of land Wynn Resorts desired, Am. Compl. ¶ 108, is irrelevant since

there is no allegation that Mr. Wynn participated in or was aware of any quid pro quo.

         Third, the various allegations that Mr. Wynn engaged in personal misconduct, see, e.g.,



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      It is worth noting that the 2013 IEB Report states that there was a public allegation that “Wynn Resorts may
have acted improperly in connection with the company’s acquisition of the land for its Cotai project. Based on this
allegation, this matter was thoroughly examined by the IEB, and no impropriety on the part of Wynn Resorts
involving its Cotai land acquisition was found.” Report at 17 n.2.
8
      The “misrepresentations” are also not racketeering activity because the Plaintiff has not alleged any connection
between Mr. Wynn’s statement at the interview with IEB and the use of the mails or interstate wires.


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Am. Compl. ¶ 36, do not amount to a RICO predicate act. Plaintiff does not connect these

unproven allegations to any misrepresentations by Mr. Wynn that could constitute mail or wire

fraud. Plaintiff has not, for instance, alleged that the MGC actually asked (which it did not) Mr.

Wynn if he ever settled claims related to allegations of personal misconduct.

         Fourth, the allegation that, when Mr. Wynn was asked if he knew the owners of FBT

had criminal histories and he replied “Steve Wynn, under oath, zero,” Am. Compl. ¶ 100, is not a

racketeering act because, unlike with Sinatra and Maddox, Plaintiff never alleges that Mr. Wynn

knew9 the histories of the FBT owners. Nor does Plaintiff plead any facts suggesting how Mr.

Wynn acquired such information.10 Further, with respect to this statement at an IEB suitability

interview, Plaintiff does not allege use of the mails or interstate wires.

         Fifth, Plaintiff disingenuously alleges that the MGC application required Mr. Wynn to

“identify any company in which he had held an ownership interest of 5% or more” and that Mr.

Wynn “omitted to disclose the wholly-owned shell company, Entity Y LLC, he had used for the

$7.5 million payoff.” Am. Compl. ¶ 147. Plaintiff’s clever wording (“the” instead of “his”)

should not fool the Court—Plaintiff nowhere states that Mr. Wynn himself wholly-owned Entity

Y, but simply that Entity Y was wholly owned by someone. Because Plaintiff does not allege

that Mr. Wynn owned Entity Y (which he does not), Mr. Wynn did not have a duty to disclose

Entity Y, and there is no misrepresentation that could constitute mail or wire fraud.11

         Sixth, Mr. Wynn’s statement in 2013 to the MGC that “our history in Las Vegas has been


9
      A conclusory allegation of knowledge would be insufficient because “[t]he courts have uniformly held
inadequate a complaint's general averment of the defendant's ‘knowledge’ of material falsity, unless the complaint
also sets forth specific facts that make it reasonable to believe that defendant knew that a statement was materially
false or misleading.” N. Am. Catholic Educ. Programming Found., Inc. v. Cardinale, 567 F.3d 8, 13 (1st Cir. 2009).
10
      That Mr. Lightbody “open[ed] the Everett Site gates” for Mr. Wynn, Am. Compl. ¶ 56, does not bolster the
claim that Mr. Wynn participated in a misrepresentation to the MGC or show Mr. Wynn knew of Mr. Lightbody’s
criminal history.
11
      The allegation constitutes a Rule 11 violation of which Plaintiff’s counsel has been placed on notice.



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exemplary, spotless in every regard,” Am. Compl. ¶ 130, cannot constitute an actionable

misrepresentation because Plaintiff does not assert that the statement, when made, was untrue.

Instead, Plaintiff asserts that after the statement was made it became untrue when Nevada

penalized Wynn Resorts in 2019. Further, the statement is not actionable because Plaintiff did

not allege the use of the mails or interstate wires.

   IV.      The State Law Claims Should Be Dismissed

         Plaintiff’s state law claims should be dismissed because: (1) the Amended Complaint

fails to state a claim for relief under either Mass. Gen. L. c. 93A or for tortious interference; and

(2) the Amended Complaint fails to state the fraud underlying the state law claims with

particularity as required by Rule 9(b).

         A. Plaintiff Fails To State A Chapter 93A Claim

         To state a claim under Chapter 93A, there must be “a commercial transaction between a

person engaged in trade or commerce with another person engaged in trade or commerce.”

Szalla v. Locke, 421 Mass. 448, 451 (1995). Plaintiff fails to plead that Mr. Wynn—or Wynn

Resorts—engaged in a commercial transaction that led to its alleged injury. All of the allegedly

“unfair” or “deceptive” acts in the Amended Complaint relate to representations to the MGC.

But the MGC is not a “person engaged in trade or commerce.” See Mastoran Rests., Inc. v.

Commonwealth Div. of Capital Asset Mgmt., No. 001998-BLS, 2001 WL 1811963, at *5 (Mass.

Super. Dec. 31, 2001) (state agency not “person” engaged in “trade or commerce”).

         Further, Plaintiff has not alleged any “commercial transaction” between itself and Wynn

Resorts, or with Mr. Wynn. The fact that both Wynn Resorts and Plaintiff’s potential tenant,

Mohegan, were applying for a gaming license did not create a commercial transaction between

Wynn Resorts and Mohegan, much less between Wynn Resorts and Plaintiff, or Mr. Wynn and




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Plaintiff. See Mastoran, 2001 WL 1811963, at *5 (“That . . . two [entities] are each bidding for

contracts with [a third party] does not make them involved in a commercial transaction with each

other.”). In Mastoran, the plaintiff developer alleged that a competing developer engaged in

unfair practices during the bidding process for a government contract. The court found that the

Chapter 93A claim could not survive because the agency administering the bidding process was

not engaged in a “commercial transaction” with the developers, and further that the developers,

both competing for a government contract, were not engaged in a commercial transaction with

each other. Id. Here the connection is even further attenuated because it is Plaintiff’s tenant, not

Plaintiff, who was competing for the same benefit as Wynn Resorts.

        B. Plaintiff Fails To Plead Its Tortious Interference Claims

        Plaintiff fails to allege that Mr. Wynn or Wynn Resorts interfered in any business or

contractual relationship. First, Mr. Wynn could not have interfered with Plaintiff’s and

Mohegan’s contractual relationship, because there is no allegation that Mohegan breached its

contract. See Psy-Ed Corp. v. Klein, 459 Mass. 697, 716-17 (2011) (“For [defendant] to be held

liable for tortious interference, it must be proved that there existed a relevant contract . . . [and]

that [defendant] caused one or more parties to that contract to ‘break’ (i.e., breach) it . . . .”).

Plaintiff’s contract with Mohegan was conditioned upon Mohegan securing the MGC license.

See ECF 17 at 11 n.25 (citing and attaching as Ex. 4 Plaintiff’s agreement with Mohegan).

Because Mohegan did not obtain the license, it was under no obligation to perform. See Klein,

459 Mass. at 718 (defendant not liable for tortious interference if third party did not have legal

obligation to perform); see also Harrison v. NetCentric Corp., 433 Mass. 465, 478-79 (2001).

        Second, the Amended Complaint fails to allege that Mr. Wynn interfered with Plaintiff’s

relations with Mohegan. Instead, the Amended Complaint alleges that Wynn Resorts made




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misrepresentations to the MGC, a third party, which was not privy to the relationship between

Plaintiff and Mohegan. See Hunneman Real Estate Corp. v. Norwood Realty, Inc., 54 Mass.

App. Ct. 416, 427 (2002) (statement directed to someone other than plaintiff’s prospective

business partner which did not cause the prospective business partner “not to enter into or

continue the prospective relation” did not constitute a claim for interference); Dawson v. N.Y.

Life Ins. Co., 932 F. Supp. 1509, 1545 (N.D. Ill. 1996) (“[T]ortious interference requires conduct

directed at the third party with whom the plaintiff entertains a business expectancy.”); Carvel

Corp. v. Noonan, 818 N.E.2d 1100, 1104 (N.Y. 2004) (“[C]onduct constituting tortious

interference with business relations is, by definition, conduct directed . . . at the party with which

the plaintiff has or seeks to have a relationship.”).

       C. The Fraud Underlying The State Law Claims Is Not Pled With Particularity

       Rule 9(b)’s heightened pleading requirement also applies to Plaintiff’s state law claims

premised on fraud. See N. Am. Catholic Educ. Programming Found., Inc. v. Cardinale, 567 F.3d

8, 14 (1st Cir. 2009). For the reasons set forth in Section II(A), the Amended Complaint fails to

sufficiently describe Mr. Wynn’s fraudulent conduct. As with the RICO claims, the state law

claims should also be dismissed pursuant to Rule 9(b).

                                          CONCLUSION

       For the foregoing reasons, Mr. Wynn respectfully requests that this Court dismiss the

Amended Complaint with prejudice. To the extent the other defendants’ motions raise

arguments not inconsistent with those contained herein, Mr. Wynn adopts those arguments.




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                                                             Respectfully submitted,

                                                             STEPHEN A. WYNN

                                                             By his attorneys,

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Dated: March 8, 2019




                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the forgoing was filed electronically on March 8, 2019, and
thereby delivered by electronic means to all registered participants as identified on the Notice of
Electronic Filing.


                                                             /s/ Joshua C. Sharp
                                                             Joshua C. Sharp




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